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           EXHIBIT I
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                                               SOURCINO THE HUMAN MISSION.

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 Dear Valued S T G i Employee:


 I am pleased to welcome you as a new employee to S T G i . You are Joining an energetic team full of
 bright and vibrant people who strive to make a powerful, positive impact on the world. S T G i enjoys an
 outstanding reputation as a government contractor, and we want you to help us continue to provide
 world-class information management, human resources, technical and administrative                    and
 health/medical support services to our clients, Our goal is to invest the time to understand our
 customers' requirements and provide professional services that enable each one to successfully deliver
 on their mission to support the health, security, and general well-being of citizens.

 O u r Corporate V a l u e s
      » Superior responsiveness and service to internal and external customers
      e Maintain a high degree of professionalism and respect
      « Support our employees through professional development and work life balance

A main objective of STGi has been to create and maintain a work environment that is conducive to and
supportive of all employees, I sincerely want S T G i to be a place where people want to come to work,
because they enjoy what they do and whom they do it for. Although we have experienced tremendous
growth and success over the past several years and are proud of our accomplishments, we never lose
sight ofthe fact that without our valued employees many of our successes would not be realized. I have
full confidence that as a S T G i employee, you will take pride in your work and provide the highest quality
customer service. Working together, as a team, I have no doubt that S T G i will continue to grow well into
the future. Our potential for growth is limited only by our imaginations, and 1 invite you to develop
professionally a s we grow together as a company.

This Employee Handbook has been prepared to assist you in familiarizing yourself with the company's
employment policies, procedures and practices. This document serves as a reference guide, providing
information related to your employment experience. Please read this Employee Handbook carefully to
ensure that you are aware of the expectations we have for you a s a member of our team, as well as
what you can expect from the company while you are employed with us.

If you have questions, contact your S T G i supervisor or S T G i Human Resources for clarification or
additional information.


Thank you for your future efforts on behalf ofthe company.




IVlichelle 8. Lee
President & C E O




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expressed, nor does It alter an employee's at-will status.                   ^              constitute a contract of employment, Implied or



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                            8.     Under the influence of, use and/or possession of intoxicants, illegal drugs or
                                   narcotics in the workplace
                            9.     Possession of a firearm on company or customer premises
                            10.    Willful neglect of duty, including sleeping on duty or abandonment of duty
                            11.    Loss of or inability to maintain a security clearance or job specific professional
                                   credentials (where applicable)
                             12.   Conviction of any felony crime
                             13.   Commission or conviction of a felony or misdemeanor cnme when such conviction
                                   has a material impact on the position held
                             14.   Safety or Security violations
                             15.   Unprofessional or unethical behavior of a severe nature

                  Note: Employees terminated for violating work rules are not eligible for rehire.


        Driver's License and Driving Record
                  Employees who operate a motor vehicle for conducting company business are required to
                  maintain a valid driver's license and a driving record acceptable to our insurer. STGi's insurance
                  policy does not cover employees' personal vehicles. Therefore, from time to time you will be
                  asked to provide updated proof of insurance showing your personal policy limits. Any changes
                  in your driving record or insurance coverage must be reported to STGi Human Resources
                  immediately.


        Equal Employment Opportunity
                  The company provides equal employment opportunity without regard to ethnic heritage, race,
                  gender, age, disability, religion, national origin, marital status, sexual orientation, ancestry,
                  political belief or activity, or status as a veteran. This policy applies to all areas of employment,
                  including recruitment, hiring, training and development, promotion, transfer, termination, layoff,
                  compensation, benefits, social and recreational programs, and all other conditions and
                  privileges of employment in accordance with applicable federal, state, and local laws.

                  it is the policy of the company to comply with all relevant and applicable provisions of the
                  Americans with Disabilities Act (ADA). The company will not discriminate against any qualified
                  employee or job applicant with respect to any terms, privileges or conditions of employment
                  because of a person's physical or mental disability. The company will make reasonable
                  accommodations wherever necessary for all employees or applicants with disabilities, provided
                  that the individual is otherwise qualified to safely perform the duties and assignments connected
                  with the job and provided that any accommodations made do not require significant business
                  hardship.

                  Equal employment opportunity notices are posted as required by law. However, because the
                  majority of our employees work at client/customer locations, STGi utilizes an electronic
                  employee bulletin board, located at www.stainternational.com/emplovee/. to provide all
                  employees in all states with the statutory employment posting information applicable to their
                  state. The notices summarize the rights of employees regarding equal opportunity in




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                   contacted in the event that any person believes he or she has been discriminated against.

                  IVlanagement is responsible for implementing fhe company's equal employment opportunity
                  policies, but all staff members share in the responsibility for assuring that by their personal
                  actions fhe policies are effective and applied uniformly to eveiyone. Any employee Involved in
                  discriminatory practices will be subject to disciplinary action, including dismissal. Please contact
                  the STGi Human Resources department for further details or to review the company's
                  Affirmative Action Plan (AAP).


         Exit Interview
                  When an employee leaves S T G i , management may want to discuss the reasons for leaving and
                  any impressions the employee may have about the company. If you decide to leave, you may
                  be asked to fake part in an exit interview. During the exit interview, employees are encouraged
                  to express themselves. All exit information is kept strictly confidential and in no way affects any
                  reference information the company may provide to a future employer.


         ilflwrs o i a p e r a t l o n
                  Hours of operation and/or work schedules vary depending upon the customer requirements and
                  tasks being performed. Particular hours of work and the scheduling of meal periods and other
                  breaks are determined and assigned by the on-site supervisor, project manager, and/or
                  department heads.

                  The general office hours for STGi's corporate headquarters are from 8:30 AIVl to 5:00 PM EST,
                  IVlonday through Friday. Outside of those business hours, employees are asked to leave a
                  message or contact corporate staff via email for assistance.


        Harassment-free Workplace
                 STGi is committed to creating and maintaining a work environment free from ali forms of
                 harassment, exploitation or Intimidation for all employees, male or female. Every employee,
                 vendor, subcontractor and customer of the company has tlie right to a work environment free
                 from unwelcome advances, requests for favors, or other verbal or physical conduct of a sexual
                 or offensive nature or that which can create a hostile work environment.

                 Note: Employee conduct that intentionally or unintentionally results In unlawful
                 harassment of other employees will not be tolerated. Such conduct Is subject to
                 disciplinary action, up to and including termination.


            definitions           of     HBmssment

                           1.        Sexual harassment - Constitutes discrimination and Is illegal under federal, state
                                and local laws. For the purposes of this policy, sexual harassment is defined, as in fhe
                                Equal Employment Opportunity Commission Guidelines, as unwelcome sexual



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                                  advances, requests for sexual favors, and other verbal or physical conduct of a sexual
                                  nature when, for example:
                                        a) Submission to such conduct is made either, explicitly or implicitly a term or
                                           condition of an individual's employment;
                                        b) Submission to or rejection of such conduct by an individual is used a s the
                                           basis for employment decisions affecting such individual; or
                                        c) Such conduct has fhe purpose or effect of unreasonably interfering with an
                                           individual's worI< performance or creating an Intimidating, hostile or offensive
                                           worl<ing environment.
                                 Sexual harassment may include a wide range of subtle and not-so-sublle behaviors
                                 and may Involve Individuals of the same or different genders. Depending upon fhe
                                 circumstances, these behaviors may include, but are not limited to: unwanted sexual
                                 advances or requests for sexual favors; sexual jol<es and innuendos; verbal abuse of
                                 a sexual nature; comments about an individual's body, sexual prowess or sexual
                                 deficiencies; leering, whistling or touching; insulting or obscene comments or
                                 gestures; the non-work related posted display of sexually suggestive objects or
                                 pictures; and other physical, verbal or visual conduct of a sexual nature,
                            2-         Harassment (on the basis of anv other orot&Gted charaDterMh} - |s also strictly •
                                 prohibited-.-Undep-fhis poliey; harassment is verbal-or physical conduct-that-degrades
                                 or shows hostility or aversion toward an individual because of his/her race, religion,
                                 gender, sexual orientation, national origin, age, disability, marital status, citizenship or''
                                 any other characteristic protected by law or tliat of his/her relatives, friends or
                                 associates and that:
                                       a) Has the purpose or effect of creating an intimidating, hostii© or offensive
                                          work environment;
                                       b) Has the purpose or effect of unreasonably interfering with an individual's
                                          work performance; or
                                   c) Otherwise adversely affects an Individual's employment opportunities.    .
                            Harassing conduct Includes, but is not limited to: nicknames, siuiB or negative
                           stereotyping; threatening, Intimidating or hostile acts; demeaning jokes; and written or
                           graphic material that degrades or shows hostility or aversion towards an Individual or
                           group and is placed on walls or elsewhere'on the employer's premises or circulated in
                           th© workplace.

                   Conduct and Individuals Covered by this Policy
                      These policies apply to ail employees whether related to conduct engaged in by fellow
                      employees, company management, or someone not directly connected to STGI (e.g., an
                      outside vendor, consultant, customer, etc.).

                      Conduct prohibited by these policies is unacceptable and will not be tolerated in the
                      workplace or in any work-related setting outside the workplace, such as business trips,
                      business meetings, and business-related social events.

                 Repotting an Incident of mras$ment^ Disctlmination                                            op Retaliation
                      STGi encourages the reporting of all perceived incidents of discrimination, harassment or
                      retaliation, regardless ofthe offender's Identity or position. Individuals who believe they have


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expressed, nor does It alter an employee's at-will status,                                                                '    ' ""f^"^" °^


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                 been the victims of such conduct should discuss, their concerns with their supen/isor or
                 contact Human Resources immediately for assistance.

                 W e aiso encourage Individuals who believe they are being subjected to such conduct to
                 Informally address the situation by advising the offender that their behavior is unwelcome
                 and ask that it be discontinued; often, this action will resolve the problem. However, in
                 situations where Informal communication Is not possible or comfortable, we strongly advise
                 the individual to pursue the matter through formal complaint procedures.


           Complaint Procedures
              STGi urges the prompt reporting of complaints by individuals directly Involved or by third
              parties who h&ve direct knowledge of the events to facilitate rapid and constructive action
              before relationships become irreversibly strained. Although no fixed reporting period Is
              established, early reporting and intervention are the most effective methods of resolvinq
              actual or perceived Incidents of harassment.

              Any reported allegations of harassment, discrimination or retaliation will be investigated
              promptly. The investigation may include individual inten/isws with the parties involved and,
              In some cases, with individuals who observed the alleged conduct or may have other
            •relevantknowledgev.

              Confidentiality is maintained throughout fhe investigation process and is consistent with
              adequate Investigation and appropriate corrective action.

              Retaliation against an individual for reporting a harassment or discrimination incident is
              strictly forbidden. Retaliatory behavior directed at an employee for participating In an
              investigation of a claim of harassment or discrimination is also considered a serious violation
            . of this policy. Acts of retaliation should be reported immediately and will be promptly
              investigated and addressed. Any such behavior Is subject to disciplinary action up to and
              including termination.

             iVlisconduof constituting harassment, discrimination, retaliation or the falsified reporting of
             such Incidents will be dealt with appropriately. Responsive action may include training,
             referral to counseling and/or disciplinary action such as a warning or reprimand, withholding
             of a promotion or pay increase, reassignment, temporary suspension without pay or
             termination as S T G i deems appropriate based on the incident and circumstances.
          Conclusion
             STGi developed this policy to ensure that aii employees work In an environment free from
             harassment, discrimination and retaliation.    Any employee who has any questions or
             concerns about these policies should talk with a member of the Human Resources
             department.

            Finally, these policies may not be used as a basis for excluding or separating individuals of
            a particular gender, or any other protected characteristic, from participating in business or
            work-related social activities or discussions. Therefore, no one should make the mistake of
            engaging In discrimination or exclusion in order to avoid allegations of harassment. The law
            and the policies of STGi prohibit unequal treatment on the basis of sex or any other



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                        5. As with any poiicy, management staff is expected to serve as roie models for proper
                           compliance with the provisions above and encouraged to regularly remind employees of
                           their responsibilities In complying with this policy.
                        6. Violations of this policy may be subject to disciplinary action up to and including
                           termination.


               Open-Door Poiicy and Grievance Resolution
              STGi strives to provide an environment in which employees are encouraged to raise their work-
              related concerns informally, with STGI management or STGi Human Resources, so that fhe
              company can improve upon issues of which we might not be aware. Whenever you have problems
              or complaints, we expect you to speak up and communicate directly with us. Naturally, we
              encourage that an employee first try to resolve the Issue/concern with their immediate supervisor.
              Our open-door policy encourages ail employees to feel free to speak with any member of STGi's
              management team about any work-related or other topic.

              Issues related to harassment in fhe workplace of any type or nature should be reported directly to
              STGi's Human Resources department.


              Parking Security
              Neither S T G i nor our customers/clients is not responsible for any loss, theft or damage to employee
              vehicles parked at work locations. Employees are encouraged to use normal precautions in
              securing their vehicles while on company property.


              Personal Visitors and Communications
             For security and safety reasons, personal visits are discouraged while the employee Is at work.
             Employees should not use the company street address or email address as a personal contact
             address or to conduct personal business In any manner.

             Personal communication devices (cell phones, pagers, etc.) should only be used during break time. •
             Employees are strongly discouraged from making personal telephone calls (other than for
             emergency purposes) during work hours.

             Some employees, in the performance of their assigned work duties, may use personal cell phones
             to conduct business. At no time should safety be compromised when using a ceil phone. Refer to
             iVIobile Phone Usage policy In this section for more information.


             Personal Use of Company Property
             The use of company property for personal use is discouraged. Use of company equipment (laptop
             computers, copier, etc.) during or after work hours for personal benefit must be approved by your
             supervisor. The company is not liable for personal Injury incurred during the personal use of
             company property. As a STGi employee, you accept full responsibility for any and aii liabilities for
             Injuries or losses that occur or for the malfunction of equipment. You are responsible for returning




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expressed, nor does It alter an employee's at-will status.                                                                          k="v.


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 From: Marcia Euwema [mailto:iViarcia.Euwema@stginternational.com]
 Sent: Sunday, June. 13, 2010 10:38 PM
 To; Marcia Euwema

 Subject: STGi's Commitment to a f-iarassment-Free Workplace

 To Ali STGi Employees:

 STGi is a special company, a company of teams and individuals proud of ttieir
 accomplishments and excited about future opportunities. STGi is a company defined by
 o u r character and integrity of our employees. As we work t o better understand our
 customer's needs and provide professional services that enable us to successfully
 deliver on our mission, we must always keep in mind the importance of creating and
 maintaining a work environment that is conducive to and supportive of ali o f us. All of
 o u r clients/customers expect this of us and more importantly, we expect it of ourselves.


 It is that time of year that we like to annually republish our harassment-free workplace
 policy for your reference. Feel free to further review this material within our Employee
 Handbook or speai< with your STGi Program IVlanager and/or our Human Resources
Department with any questions or concerns you may have.


Harassment-free Worl<place
STG International is committed to creating and maintaining a work environment free from all
forms of tiarassment, exploitation or intimidation for all employees, male or female. Every
 employee, vendor, subcontractor and customer of the company has the right to a work
 environment free from unwelcome advances, requests for favors, or other verbal or physical
conduct of a sexual or offensive nature or that which can create a hostile work environment.

Note: Employee conduct that intentionally or unintentionally results in unlawful harassment of
other employees will not be tolerated. Such conduct Is subject to disciplinary action, up to and
including termination.



Definitions of Harassment
1. Sexual harassment - Constitutes discrimination and is iilegal under federal, state and local
laws. For the purposes of this poiicy, sexual harassment is defined, as in the Equal Employment
Opportunity Commission Guidelines, as unwelcome sexual advances, requests for sexual favors,
and other verbal or physical conduct of a sexual nature when, for example:
           a) Submission to such conduct is made either explicitly or implicitly a term or condition
of an individual's employment;
           b) Submission to or rejection of such conduct by an individual is used as the basis for
employment decisions affecting such individual; or
           c) Such conduct has the purpose or effect of unreasonably interfering with an
individual's work performance or creating an intimidating, hostile or
              offensive working environment.

Sexual harassment may include a wide range of subtle and not-so-subtle behaviors and may
involve individuals ofthe same or different genders. Depending upon the circumstances, these




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 behaviors may include, but are not limited to: unwanted sexual advances-or requests for sexual
favors; sexual jokes and innuendos; verbal abuse of a sexual nature; comments about an
individual's body, sexual prowess or sexual deficiencies; leering, whistling or touching; Insulting
or obscene comments or gestures; the non-work related posted display of sexually suggestive
objects or pictures; and other physical, verbal or visual conduct of a sexual nature. .

2- Harassment (on the basis of anv other protected characteristic) - Is aiso strictly prohibited.
 Under this policy, harassment is verbal or physical conduct that degrades or shows hostility or
aversion toward an Individual because of his/her race, religion, gender, sexual orientation,
national origin, age, disability, marital status, citizenship or any other characteristic protected by
law or that of his/her relatives, friends or associates and that:
          a) Has the purpose or effect of creating an intimidating, hostile or offensive work
environment;
         b) Has the purpose or effect of unreasonably interfering with an individual's work
performance; or      •
         c) Otherwise adversely affects an Individual's employment opportunities.

Harassing conduct Includes, but is not Umited to: nicknames, slurs or negative stereotyping;
threatening, intimidating or hostile acts; demeaning jokes; and written or graphic material that
degrades or shows hostility or aversion towards an individual or group and is placed on wails or
elsewhere on the employer's premises or circulated in the workplace.



 Conduct and Individuals Covered by this Policy
 These policies apply to all applicants and employees, whether related to conduct engaged in by
fellow employees, company management, or someone not directly connected to STGi (e.g., an
outside vendor, consultant, customer, etc.).
                           I'I




Conduct prohibited by these policies Is unacceptable and will not be tolerated In the workplace or
In any work-related setting outside the workplace, such as business trips, business meetings, and
business-related social events.



Reporting.an Incident of Harassment, Discrimination or Retaliation
STGi encourages the reporting of ail perceived Incidents of discrimination, harassment or
retaliation, regardless of the offender's identity or position. Individuals who believe they have
been the victims of such conduct should discuss their concerns with their supervisor or contact
Human Resources immediately for assistance.

We also encourage Individuals who believe they are being subjected to such cbnduct to
Informally address the situation by advising the offender that their behavior is unwelcome and
ask that it be discontinued; often, this action will resolve the problem. However,-In situations
where Informal communication Is not possible or comfortable, we strongly advise the Individual
to pursue the matter through formal complaint procedures.



Complaint Procedures




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 STGi urges the prompt reporting of complaints by individuals directly involved or by third parties
 who have direct knowledge of the events to facilitate rapid and constructive action before
 relationships become irreversibly strained. Although no fixed reporting period Is established,
 early reporting and intervention are the most effective methods of resolving actual or perceived
 incidents of harassment

 Any reported allegations of harassment, discrimination or retaliation will be Investigated
 promptly. The investigation may include individual Interviews with the parties involved and. In
 some cases, with individuals who observed the alleged conduct or may have other'relevant
 knowledge.

  Confidentiality Is maintained throughout the Investigation process and Is consistent with
  adequate Investigation and appropriate corrective action.
  Retaliation against an individual for reporting a harassment or discrimination Incident is strictly
 forbidden. Retaliatory behavior directed at an employee for participating In an investigation of a
 claim of harassment or discrimination Is also considered a serious violation of this policy. Acts of
 retaliation should be reported immediately and will be promptly investigated and addressed. Any
 such behavior Is subjectto disciplinary action up to and including termination.

 Misconduct constituting harassment, discrimination, retaliation or the falsified reporting of such
 incidents will be dealt with appropriately. Responsive action may Include training, referral to
 counseling and/or disciplinary action such as q warning or reprimand, withholding of a
 promotion or pay increase, reassignment, temporary suspension without pay or termination as
 STG International deems appropriate based on the incident and circumstances.



Conclusion
 STG International developed this poiicy to ensure that all employees work in an environment free
from harassment, discrimination and retaliation. Any employee who has any questions or
 concerns about these policies should talk with a member ofthe Human Resources department

 Finally, these policies may not be used as a basis for excluding or separating individuals of a
 particular gender, or any other protected characteristic, from participating in business or work-
 related social activities or discussions. Therefore, no one should make the mistake of engaging in
 discrimination or exclusion in order to avoid allegations of harassment. The law and the policies
 of STG International prohibit unequal treatment on the basis of sex or any other protected
 characteristic with regard to terms, conditions, privileges and perquisites of employment The
prohibitions against harassment, discrimination and retaliation are intended to complement and
further those policies, not to form the basis of an exception to them.




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